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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


In re: AHMAD MUSA JEBRIL and                         Case No. 05-70840
MUSA ABDALLAH JEBRIL,                                Related to Criminal Case No. 03-80810
____________________________/.                       Honorable Gerald E. Rosen

SUBHIEH JEBRIL,

         Petitioner,

vs.

UNITED STATES OF AMERICA,

      Respondent.
_____________________________/.

             MOTION TO DISMISS 5745 GREENVIEW AND 12000 SANFORD
                             FROM FORFEITURE

         NOW COMES the United States, by and through the undersigned counsel, and moves the

Court for an order dismissing the real property known as 5745 Greenview and 12000 Sanford

from the ancillary forfeiture proceedings in this case for the reasons stated in the accompanying

brief.

                                                     Respectfully submitted,

                                                     STEPHEN J. MURPHY
                                                     United States Attorney

                                                     s/Julie A. Beck (P53291)
                                                     Assistant United States Attorney
                                                     211 West Fort Street, Suite 2001
                                                     Detroit, MI 48226
                                                     (313) 226-9717
                                                     Julie.Beck@usdoj.gov
Dated: February 20, 2008
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SUBHIEH JEBRIL,

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_____________________________/.

                    BRIEF IN SUPPORT OF MOTION TO DISMISS
             5745 GREENVIEW AND 12000 SANFORD FROM FORFEITURE

       The United States Marshal Service (“USMS”) serves as the property manager for the

Department of Justice. When managing assets in a forfeiture matter, the USMS maintains,

inspects, secures and otherwise controls the assets to preserve equity. In the instant case, the

USMS property manager has indicated that the current status of 5745 Greenview and 12000

Sanford, two of the real properties forfeited by defendants in this case, are uninhabitable.

Additionally, the USMS has been paying the costs for maintaining the properties for cold

weather as well as for weeds and lawn care since 2005. Due to the poor market conditions in

Southeast Michigan, the duration of the pendency of these proceedings, and the costs of

maintaining marginal properties, the government requests that these properties be dismissed

from the ancillary forfeiture action.

       While these two properties have been forfeited by defendants in the related criminal case,


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they are part of this ancillary proceeding due to third party claims filed by Subieh Jebril,

defendant Musa Jebril’s wife.1

       Further, given that neither defendant has satisfied the money judgment in the criminal

case, spending additional funds to rehabilitate a property in such a state of disrepair would

simply not be cost effective.

       When the court enters a final order of forfeiture in this case, following the ancillary

proceeding’s conclusion, the government will present an order that omits 5745 Greenview and

12000 Sanford Detroit, Michigan, from that order so that the record is clear.

                                                      Respectfully submitted,

                                                      STEPHEN J. MURPHY
                                                      United States Attorney

                                                      s/Julie A. Beck (P53291)
                                                      Assistant United States Attorney
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Dated: February 20, 2008




       1
         Subieh Jebril’s motion for summary judgment remains pending (docket #18), which also
includes a motion by the government for the addition of two properties as substitute assets for all
of the other real properties that have been dismissed as well as the $200,000 money judgment yet
to be satisfied by defendants.

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 20, 2008, I electronically filed United States’ Motion to

Dismiss 5745 Greenview and 12000 Sanford Detroit, Michigan, from Forfeiture with the Clerk

of the Court using the ECF system which will send notification to all ECF participants of this

filing.



                                                       s/Julie A. Beck, (P53291)
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